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           and Healthy Eats, LLC
  10
                                UNITED STATES DISTRICT COURT
  11                           CENTRAL DISTRICT OF CALIFORNIA
  12   ROBEKS FRANCHISE                                          Case No.: 2:20-CV-00379
                                        )
       CORPORATION,
  13                                    )                        Hon. Michael W. Fitzgerald
                 Plaintiff,             )
  14   v.                                                        DEFENDANTS’ ANSWER AND
                                        )
                                                                 AFFIRMATIVE DEFENSES
  15   CHRISTINE ALVEARI and            )
       HEALTHY EATS, LLC,               )                        Action Filed: January 14, 2020
  16
                                        )
                 Defendants.
  17   ________________________________ )
  18

  19           COMES NOW, Defendants HEALTHY EATS, LLC (the “Franchisee”) and
  20   CHRISTINE ALVEARI (“Alveari”) (collectively the “Defendants”), by and through
  21   undersigned counsel, and hereby file this Answer and Affirmative Defenses1, in
  22   response to the Complaint (the “Complaint”) filed by ROBEKS FRANCHISE
  23   CORPORATION (the “Plaintiff” or the “Franchisor”) and hereby state as follows:
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         Defendants have sought the dismissal of this action on grounds that the instant litigation should have
  26   been brought in the California Superior Court as opposed to the United States District Court Central District
       of California. See [ECF 33]; see also [ECF 39]. In an abundance of caution, Defendants are filing this Answer
  27   and Affirmative Defenses, but Defendants do not hereby waive their rights to seek dismissal of this
       litigation for the reasons set forth in [ECF 33] and [ECF 39].
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   1                              ANSWER TO COMPLAINT
   2                                      INTRODUCTION
   3        1)    Denied.
   4        2)    The written “Franchise Agreement” referenced in this allegation speaks
   5   for itself. Any allegations that purport to interpret or characterize the written
   6   Agreement referenced in this allegation are denied. Any allegations that purport to
   7   state a legal conclusion do not require a response but are otherwise denied.
   8        3)    Without knowledge and, therefore, denied.
   9        4)    Without knowledge and, therefore, denied.
  10        5)    The “September 17, 2019 Notice of Default” referenced in this allegation
  11   speaks for itself. Any allegations that purport to interpret or characterize the written
  12   correspondence referenced in this allegation are denied. Any allegations that purport
  13   to state a legal conclusion do not require a response but are otherwise denied.
  14        6)    The “October 18, 2019 Notice of Immediate Termination” referenced in
  15   this allegation speaks for itself.    Any allegations that purport to interpret or
  16   characterize the written correspondence referenced in this allegation are denied. Any
  17   allegations that purport to state a legal conclusion do not require a response but are
  18   otherwise denied.
  19        7)    The “November 25, 2019 Final Notice” referenced in this allegation
  20   speaks for itself. Any allegations that purport to interpret or characterize the written
  21   correspondence referenced in this allegation are denied. Any allegations that purport
  22   to state a legal conclusion do not require a response but are otherwise denied.
  23        8)    This paragraph purports to state legal conclusion for which no response
  24   is required. To the extent a response is required, such allegations are denied.
  25                                        THE PARTIES
  26        9)    Without knowledge and, therefore, denied.
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1         10)      Admitted as to Alveari’s residence and citizenship. As to the allegation
   2   concerning her purported status as a “guarantor,” such an allegation states a legal
   3   conclusion for which no response is required.
   4         11)      Admitted.
   5                        JURISDICTION, VENUE, AND APPLICABLE LAW
   6         12)      The allegations in Paragraph 12 of the Complaint are admitted for
   7   purposes of jurisdiction.
   8         13)      The allegations in Paragraph 13 of the Complaint are admitted for
   9   purposes of jurisdiction.
  10         14)      The allegations in Paragraph 14 of the Complaint are admitted for
  11   purposes of jurisdiction.
  12         15)      The written “Franchise Agreement” referenced in this allegation speaks
  13   for itself.
  14         16)      The written “Franchise Agreement” referenced in this allegation speaks
  15   for itself.
  16         17)      The written “Franchise Agreement” referenced in this allegation speaks
  17   for itself.
  18         18)      The written “Franchise Agreement” referenced in this allegation speaks
  19   for itself.
  20                                     NATURE OF THE ACTION
  21         19)      This allegation purports to state legal conclusions for which no response
  22   is required.
  23         20)      Denied.
  24         21)      Without knowledge and, therefore, denied.
  25                                     FACTUAL BACKGROUND
  26         22)      Without knowledge and, therefore, denied.
  27         23)      Without knowledge and, therefore, denied.
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                                DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1         24)      Without knowledge and, therefore, denied.
   2         25)      Without knowledge and, therefore, denied.
   3         26)      Without knowledge and, therefore, denied.
   4         27)      Admitted.
   5         28)      Admitted that Defendants executed the Confidentiality, Non-Disclosure
   6   and Non-Competition Agreement.
   7         29)      Admitted that Alveari executed the Personal Guaranty.          All other
   8   allegations are denied.
   9         30)      Admitted that Defendants executed the Addendum dated December 30,
  10   2006.
  11         31)      The written “Addendum” referenced in this allegation speaks for itself.
  12         32)      The written “Franchise Agreement” referenced in this allegation speaks
  13   for itself.
  14         33)      Admitted that the term of the Franchise Agreement ran through August
  15   2017. As to the rest of the allegations, without knowledge and, therefore, denied.
  16         34)      The written “Franchise Agreement” referenced in this allegation speaks
  17   for itself. Any allegations that purport to interpret or characterize the written
  18   Agreement referenced in this allegation are denied. Any allegations that purport to
  19   state a legal conclusion do not require a response but are otherwise denied.
  20         35)      This allegation purports to state legal conclusions for which no response
  21   is required.
  22         36)      Admitted as to the allegation that the Defendants did not sign a renewal
  23   franchise agreement. The other allegations are vague and therefore denied.
  24         37)      The written “Franchise Agreement” referenced in this allegation speaks
  25   for itself.
  26         38)      Admitted.
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                              DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1         39)     The written “Franchise Agreement” referenced in this allegation speaks
   2   for itself. Any allegations that purport to interpret or characterize the written
   3   Agreement referenced in this allegation are denied. Any allegations that purport to
   4   state a legal conclusion do not require a response but are otherwise denied.
   5         40)     The written “Franchise Agreement” referenced in this allegation speaks
   6   for itself.
   7         41)     The written “Franchise Agreement” referenced in this allegation speaks
   8   for itself. Any allegations that purport to interpret or characterize the written
   9   Agreement referenced in this allegation are denied. Any allegations that purport to
  10   state a legal conclusion do not require a response but are otherwise denied.
  11         42)     The written “Franchise Agreement” referenced in this allegation speaks
  12   for itself. Any allegations that purport to interpret or characterize the written
  13   Agreement referenced in this allegation are denied. Any allegations that purport to
  14   state a legal conclusion do not require a response but are otherwise denied.
  15         43)     The written “Franchise Agreement” referenced in this allegation speaks
  16   for itself. Any allegations that purport to interpret or characterize the written
  17   Agreement referenced in this allegation are denied. Any allegations that purport to
  18   state a legal conclusion do not require a response but are otherwise denied.
  19         44)     The written “Franchise Agreement” referenced in this allegation speaks
  20   for itself. Any allegations that purport to interpret or characterize the written
  21   Agreement referenced in this allegation are denied. Any allegations that purport to
  22   state a legal conclusion do not require a response but are otherwise denied.
  23         45)     The written “Franchise Agreement” referenced in this allegation speaks
  24   for itself. Any allegations that purport to interpret or characterize the written
  25   Agreement referenced in this allegation are denied. Any allegations that purport to
  26   state a legal conclusion do not require a response but are otherwise denied.
  27         46)     Without knowledge and, therefore, denied.
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        47)   The written “Franchise Agreement” referenced in this allegation speaks
   2   for itself. Any allegations that purport to interpret or characterize the written
   3   Agreement referenced in this allegation are denied. Any allegations that purport to
   4   state a legal conclusion do not require a response but are otherwise denied.
   5        48)   The written “Franchise Agreement” referenced in this allegation speaks
   6   for itself. Any allegations that purport to interpret or characterize the written
   7   Agreement referenced in this allegation are denied. Any allegations that purport to
   8   state a legal conclusion do not require a response but are otherwise denied.
   9        49)   The written “Franchise Agreement” referenced in this allegation speaks
  10   for itself. Any allegations that purport to interpret or characterize the written
  11   Agreement referenced in this allegation are denied. Any allegations that purport to
  12   state a legal conclusion do not require a response but are otherwise denied.
  13        50)   The written “Franchise Agreement” referenced in this allegation speaks
  14   for itself. Any allegations that purport to interpret or characterize the written
  15   Agreement referenced in this allegation are denied. Any allegations that purport to
  16   state a legal conclusion do not require a response but are otherwise denied.
  17        51)   The written “Franchise Agreement” referenced in this allegation speaks
  18   for itself. Any allegations that purport to interpret or characterize the written
  19   Agreement referenced in this allegation are denied. Any allegations that purport to
  20   state a legal conclusion do not require a response but are otherwise denied.
  21        52)   The written “Franchise Agreement” referenced in this allegation speaks
  22   for itself. Any allegations that purport to interpret or characterize the written
  23   Agreement referenced in this allegation are denied. Any allegations that purport to
  24   state a legal conclusion do not require a response but are otherwise denied.
  25        53)   The written “Franchise Agreement” referenced in this allegation speaks
  26   for itself. Any allegations that purport to interpret or characterize the written
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                          DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1   Agreement referenced in this allegation are denied. Any allegations that purport to
   2   state a legal conclusion do not require a response but are otherwise denied.
   3        54)    Admitted.
   4        55)    This allegation is vague and, as a result, denied.
   5        56)    The written “Franchise Agreement” referenced in this allegation speaks
   6   for itself. Any allegations that purport to interpret or characterize the written
   7   Agreement referenced in this allegation are denied. Any allegations that purport to
   8   state a legal conclusion do not require a response but are otherwise denied.
   9        57)    Admitted.
  10        58)    This allegation is vague and, as a result, denied.
  11        59)    Without knowledge and, therefore, denied.
  12        60)    This allegation is vague and, as a result, denied.
  13        61)    This allegation is vague and, as a result, denied.
  14        62)    The written “September 17, 2019 Notice of Default” referenced in this
  15   allegation speaks for itself. Any allegations that purport to interpret or characterize
  16   the written Agreement referenced in this allegation are denied. Any allegations that
  17   purport to state a legal conclusion do not require a response but are otherwise denied.
  18        63)    The written “September 17, 2019 Notice of Default” referenced in this
  19   allegation speaks for itself. Any allegations that purport to interpret or characterize
  20   the written Agreement referenced in this allegation are denied. Any allegations that
  21   purport to state a legal conclusion do not require a response but are otherwise denied.
  22        64)    The written “September 17, 2019 Notice of Default” referenced in this
  23   allegation speaks for itself.
  24        65)    The written “September 17, 2019 Notice of Default” referenced in this
  25   allegation speaks for itself. Any allegations that purport to interpret or characterize
  26   the written Agreement referenced in this allegation are denied. Any allegations that
  27   purport to state a legal conclusion do not require a response but are otherwise denied.
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        66)    This allegation is vague and, as a result, denied.
   2        67)    The written “October 18, 2019 Notice of Immediate Termination”
   3   referenced in this allegation speaks for itself. Any allegations that purport to interpret
   4   or characterize the written Agreement referenced in this allegation are denied. Any
   5   allegations that purport to state a legal conclusion do not require a response but are
   6   otherwise denied.
   7        68)    The written “October 18, 2019 Notice of Immediate Termination”
   8   referenced in this allegation speaks for itself. Any allegations that purport to interpret
   9   or characterize the written Agreement referenced in this allegation are denied. Any
  10   allegations that purport to state a legal conclusion do not require a response but are
  11   otherwise denied.
  12        69)    The written “October 18, 2019 Notice of Immediate Termination”
  13   referenced in this allegation speaks for itself.
  14        70)    This allegation is vague and, as a result, denied.
  15        71)    The written “November 25, 2019 Final Notice” referenced in this
  16   allegation speaks for itself. Any allegations that purport to interpret or characterize
  17   the written Agreement referenced in this allegation are denied. Any allegations that
  18   purport to state a legal conclusion do not require a response but are otherwise denied.
  19        72)    This allegation is vague and, as a result, denied.
  20        73)    Denied.
  21        74)    Defendants have no knowledge as to the truth or falsity of the allegations
  22   in Paragraph 74, therefore, denied.
  23        75)    Defendants have no knowledge as to the truth or falsity of the allegations
  24   in Paragraph 75, and are therefore, denied. To the extent this paragraph purports to
  25   state legal conclusion, no response is required, and to the extent a response is
  26   required, such allegations are denied.
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                             DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        76)   Defendants have no knowledge as to the truth or falsity of the allegations
   2   in Paragraph 76, and are therefore, denied.
   3        77)   Defendants have no knowledge as to the truth or falsity of the allegations
   4   in Paragraph 77, and are therefore, denied.
   5        78)   Defendants have no knowledge as to the truth or falsity of the allegations
   6   in Paragraph 78, and are therefore, denied.
   7        79)   This allegation is vague and, as a result, denied.
   8        80)   This allegation is vague and, as a result, denied.
   9        81)   Denied.
  10        82)   Defendants have no knowledge as to the truth or falsity of the allegations
  11   in Paragraph 82, and are therefore, denied.
  12        83)   Defendants have no knowledge as to the truth or falsity of the allegations
  13   in Paragraph 83, and are therefore, denied.
  14        84)   Defendants have no knowledge as to the truth or falsity of the allegations
  15   in Paragraph 84, and are therefore, denied.
  16        85)   Defendants have no knowledge as to the truth or falsity of the allegations
  17   in Paragraph 85, and are therefore, denied.
  18        86)   Defendants have no knowledge as to the truth or falsity of the allegations
  19   in Paragraph 86, and are therefore, denied.
  20        87)   Defendants have no knowledge as to the truth or falsity of the allegations
  21   in Paragraph 87, and are therefore, denied.
  22        88)   Defendants have no knowledge as to the truth or falsity of the allegations
  23   in Paragraph 88, and are therefore, denied.
  24        89)   Defendants have no knowledge as to the truth or falsity of the allegations
  25   in Paragraph 89, and are therefore, denied.
  26        90)   Without knowledge and, therefore, denied.
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        91)   Defendants have no knowledge as to the truth or falsity of the allegations
   2   in Paragraph 91, and are therefore, denied.
   3        92)   Defendants have no knowledge as to the truth or falsity of the allegations
   4   in Paragraph 92, and are therefore, denied.
   5        93)   This paragraph purports to state legal conclusion for which no response
   6   is required. To the extent a response is required, such allegations are denied.
   7        94)   Defendants have no knowledge as to the truth or falsity of the allegations
   8   in Paragraph 94, therefore, denied.
   9        95)   This paragraph purports to state legal conclusion for which no response
  10   is required. To the extent a response is required, such allegations are denied.
  11        96)   This paragraph purports to state legal conclusion for which no response
  12   is required. To the extent a response is required, such allegations are denied.
  13              DEFENDANTS’ ANSWER TO PLAINTIFF’S CAUSES OF ACTION
  14               COUNT I – INJUNCTIVE RELIEF UNDER FLA. STAT. § 542.335
  15        97)   Defendants incorporate by reference each of the answers to the allegations
  16   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
  17        98)   Defendants admit that Defendants and Plaintiff entered a Franchise
  18   Agreement but otherwise deny the allegations in Paragraph 98 and aver that the
  19   subject Franchise Agreement speaks for itself. Defendants oppose the relief sought
  20   in this paragraph.
  21        99)   Denied, as there is no specific time period alleged in this paragraph.
  22        100) Denied, as there is no specific time period alleged in this paragraph.
  23   Further, the written “Franchise Agreement” referenced in this allegation speaks for
  24   itself. Any allegations that purport to interpret or characterize the written Agreement
  25   referenced in this allegation are denied. Any allegations that purport to state a legal
  26   conclusion do not require a response but are otherwise denied.
  27        101) Denied.
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        102) Denied.
   2        103) This paragraph purports to state legal conclusion for which no response
   3   is required. To the extent a response is required, such allegations are denied.
   4        104) Defendants have no knowledge as to the truth or falsity of the allegations
   5   in Paragraph 104, and are therefore, denied.
   6        105) This paragraph purports to state legal conclusion for which no response
   7   is required. To the extent a response is required, such allegations are denied.
   8        106) This paragraph purports to state legal conclusion for which no response
   9   is required. To the extent a response is required, such allegations are denied.
  10        107) Without knowledge and, therefore, denied.
  11        108) This paragraph purports to state legal conclusion for which no response
  12   is required. To the extent a response is required, such allegations are denied.
  13        109) This paragraph purports to state legal conclusion for which no response
  14   is required. To the extent a response is required, such allegations are denied.
  15   Additionally, Defendants are without knowledge concerning any alleged damages
  16   and, as a result, such allegations are denied.
  17    COUNT II - INFRINGEMENT OF FEDERAL REGISTERED MARKS (15 U.S.C. § 1114(1))
  18        110) Defendants incorporate by reference each of the answers to the allegations
  19   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
  20        111) Without knowledge and, therefore, denied.
  21        112) Without knowledge and, therefore, denied.
  22        113) Denied.
  23        114) Denied.
  24        115) This paragraph purports to state legal conclusion for which no response
  25   is required. To the extent a response is required, such allegations are denied.
  26        116) Denied.
  27        117) Without knowledge and, therefore, denied.
                                                  11
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        118) This paragraph purports to state legal conclusion for which no response
   2   is required. To the extent a response is required, such allegations are denied.
   3        119) This paragraph purports to state legal conclusion for which no response
   4   is required. To the extent a response is required, such allegations are denied.
   5   Additionally, Defendants are without knowledge concerning any alleged damages
   6   and, as a result, such allegations are denied.
   7            COUNT III – FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(A))
   8        120) Defendants incorporate by reference each of the answers to the allegations
   9   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
  10        121) Denied.
  11        122) This paragraph purports to state legal conclusion for which no response
  12   is required. To the extent a response is required, such allegations are denied.
  13        123) This paragraph purports to state legal conclusion for which no response
  14   is required. To the extent a response is required, such allegations are denied.
  15   Additionally, Defendants are without knowledge concerning any alleged damages
  16   and, as a result, such allegations are denied.
  17        124) Without knowledge and, therefore, denied.
  18        125) This paragraph purports to state legal conclusion for which no response
  19   is required. To the extent a response is required, such allegations are denied.
  20        126) This paragraph purports to state legal conclusion for which no response
  21   is required. To the extent a response is required, such allegations are denied.
  22   Additionally, Defendants are without knowledge concerning any alleged damages
  23   and, as a result, such allegations are denied.
  24                            COUNT IV - BREACH OF CONTRACT
  25                                  FRANCHISE AGREEMENT
  26        127) Defendants incorporate by reference each of the answers to the allegations
  27   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
                                                  12
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        128) Admitted.
   2        129) Without knowledge and, therefore, denied.
   3        130) The written “Franchise Agreement” referenced in this allegation speaks
   4   for itself. Any allegations that purport to interpret or characterize the written
   5   Agreement referenced in this allegation are denied. Any allegations that purport to
   6   state a legal conclusion but do not require a response are otherwise denied.
   7        131) Admitted that Alveari executed the Personal Guaranty.
   8        132) Denied.
   9        133) Denied, as there is no specific time period alleged in this paragraph.
  10        134) Without knowledge and, therefore, denied.
  11        135) Without knowledge and, therefore, denied.
  12                            COUNT V – BREACH OF CONTRACT
  13              PERSONAL GUARANTY (AGAINST DEFENDANT ALVEARI ONLY)
  14        136) Defendants incorporate by reference each of the answers to the allegations
  15   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
  16        137) Admitted.
  17        138) Denied.
  18        139) The written “Personal Guaranty” referenced in this allegation speaks for
  19   itself. Any allegations that purport to interpret or characterize the written Agreement
  20   referenced in this allegation are denied. Any allegations that purport to state a legal
  21   conclusion do not require a response but are otherwise denied.
  22        140) Denied.
  23        141) Without knowledge and, therefore, denied.
  24                            COUNT VI – BREACH OF CONTRACT
  25                   CONFIDENTIALITY AND NON-COMPETE AGREEMENT
  26        142) Defendants incorporate by reference each of the answers to the allegations
  27   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
                                                 13
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1        143) Admitted.
   2        144) The written “Confidentiality and Non-Compete Agreement” referenced
   3   in this allegation speaks for itself. Any allegations that purport to interpret or
   4   characterize the written Agreement referenced in this allegation are denied. Any
   5   allegations that purport to state a legal conclusion do not require a response but are
   6   otherwise denied.
   7        145) The written “Confidentiality and Non-Compete Agreement” referenced
   8   in this allegation speaks for itself. Any allegations that purport to interpret or
   9   characterize the written Agreement referenced in this allegation are denied. Any
  10   allegations that purport to state a legal conclusion do not require a response but are
  11   otherwise denied.
  12        146) The written “Confidentiality and Non-Compete Agreement” referenced
  13   in this allegation speaks for itself. Any allegations that purport to interpret or
  14   characterize the written Agreement referenced in this allegation are denied. Any
  15   allegations that purport to state a legal conclusion do not require a response but are
  16   otherwise denied.
  17        147) Without knowledge and, therefore, denied.
  18        148) Denied.
  19        149) Denied.
  20        150) Denied.
  21        151) Denied.
  22        152) Without knowledge and, therefore, denied.
  23        153) Without knowledge and, therefore, denied.
  24        154) The written “Franchise Agreement” referenced in this allegation speaks
  25   for itself. Any allegations that purport to interpret or characterize the written
  26   Agreement referenced in this allegation are denied. Any allegations that purport to
  27   state a legal conclusion do not require a response but are otherwise denied.
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1                          COUNT VII – DECLARATORY JUDGMENT
   2        155) Defendants incorporate by reference each of the answers to the allegations
   3   contained in paragraphs numbered 1 through 96 as though fully set forth herein.
   4        156) This paragraph purports to state legal conclusion for which no response
   5   is required. To the extent a response is required, such allegations are denied.
   6        157) The written “Franchise Agreement” referenced in this allegation speaks
   7   for itself. Any allegations that purport to interpret or characterize the written
   8   Agreement referenced in this allegation are denied. Any allegations that purport to
   9   state a legal conclusion do not require a response but are otherwise denied.
  10        158) Denied.
  11        159) The written “September 17, 2019 Notice of Default” referenced in this
  12   allegation speaks for itself. Any allegations that purport to interpret or characterize
  13   the written Agreement referenced in this allegation are denied. Any allegations that
  14   purport to state a legal conclusion do not require a response but are otherwise denied.
  15        160) The written “October 18, 2019 Notice of Immediate Termination”
  16   referenced in this allegation speaks for itself. Any allegations that purport to interpret
  17   or characterize the written Agreement referenced in this allegation are denied. Any
  18   allegations that purport to state a legal conclusion do not require a response but are
  19   otherwise denied.
  20        161) Without knowledge and, therefore, denied.
  21        162) This paragraph purports to state legal conclusion for which no response
  22   is required. To the extent a response is required, such allegations are denied.
  23                              DENIAL OF PRAYER FOR RELIEF
  24        Defendants deny that Plaintiff is entitled to the relief requested in Plaintiff’s
  25   Prayer for Relief. To the extent any allegation or request for relief has not been
  26   admitted above, Defendants deny any such allegations or prayers for relief.
  27   Defendants explicitly reserve all rights to seek a dismissal of this litigation on
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1   grounds that, inter alia, this action has been brought in the wrong Court pursuant to
   2   the terms of the relevant agreements. The extent provided by the relevant agreements
   3   and by applicable law, Defendants intend to seek to recover their attorneys’ fees and
   4   costs as a prevailing party.
   5                     DEFENDANTS’ AFFIRMATIVE DEFENSES
   6   1.    First Affirmative Defense
   7        The Complaint fails to state a cause of action upon which relief can be granted
   8   with respect to Count I.
   9   2.    Second Affirmative Defense
  10        The Complaint fails to state a cause of action upon which relief can be granted
  11   with respect to Count II.
  12   3.    Third Affirmative Defense
  13        The Complaint fails to state a cause of action upon which relief can be granted
  14   with respect to Count III.
  15   4.    Fourth Affirmative Defense
  16        The Complaint fails to state a cause of action upon which relief can be granted
  17   with respect to Count IV.
  18   5.    Fifth Affirmative Defense
  19        The Complaint fails to state a cause of action upon which relief can be granted
  20   with respect to Count V.
  21   6.    Sixth Affirmative Defense
  22        The Complaint fails to state a cause of action upon which relief can be granted
  23   with respect to Count VI.
  24   7.    Seventh Affirmative Defense
  25        The Complaint fails to state a cause of action upon which relief can be granted
  26   with respect to Count VII.
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                           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1   8.       Eighth Affirmative Defense
   2         Plaintiff’s claims should be barred by the doctrine of waiver.
   3   9.       Ninth Affirmative Defense
   4         Plaintiff’s claims should be barred by the doctrine of estoppel.
   5   10.      Tenth Affirmative Defense
   6         Plaintiff’s claims should be barred by the doctrine of unclean hands.
   7   11.      Eleventh Affirmative Defense
   8         Plaintiff’s damages, if any exist, should be offset (or subject to recoupment) by
   9   any payments made to Plaintiff by any party and/or third-party responsible for such
  10   alleged damages.
  11   12.      Twelfth Affirmative Defense
  12         To the extent Plaintiff has actually suffered any damages, Plaintiff failed to take
  13   reasonable steps to mitigate its alleged damages.
  14   13.      Thirteenth Affirmative Defense
  15         Plaintiff’s equitable causes of action are barred to the extent there is a written
  16   agreement relating to such causes of action that bar equitable claims.
  17   14.      Fourteenth Affirmative Defense
  18         Plaintiff is barred from recovery insofar as Defendants acted at all times in good
  19   faith.
  20   15.      Fifteenth Affirmative Defense
  21         Plaintiff failed to perform conditions precedent under the Franchise Agreement
  22   insofar as it failed to act in good faith.
  23   16.      Sixteenth Affirmative Defense
  24         Plaintiff is barred from enforcing any of the termination provisions in the
  25   Franchise Agreement insofar as its termination of the Agreement was improper.
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1   17.      Seventeenth Affirmative Defense
   2         Plaintiff is barred from enforcing the non-compete provisions because it lacks a
   3   legitimate business interest in enforcing same.
   4   18.      Eighteenth Affirmative Defense
   5         Plaintiff is barred from recovery insofar as Defendants acted at all times in good
   6   faith.
   7   19.      Nineteenth Affirmative Defense
   8         Plaintiff’s causes of action seeking to enforce a non-compete agreement are
   9   barred due to Plaintiff’s lack of a legally sufficient legitimate business interest.
  10   20.      Twentieth Affirmative Defense
  11         Plaintiff’s causes of action are barred by the statute of limitations.
  12   21.      Twenty-First Affirmative Defense
  13         Plaintiff’s causes of action are barred by the doctrine of latches.
  14   22.      Twenty-Second Affirmative Defense
  15         Plaintiff’s causes of action, other than causes of action that merely seek
  16   injunctive relief, are barred due to Plaintiff’s failure to comply with the conditions-
  17   precedent concerning alternative dispute resolution (mediation and/or arbitration).
  18   Defendants expressly contest the validity of Plaintiff’s failure to comply with such
  19   alternative dispute resolution provisions and do not waive their rights with respect to
  20   said alternative dispute resolution provisions.
  21   23.      Twenty-Third Affirmative Defense
  22         Plaintiff’s causes of action are barred due to Plaintiff’s failure to bring the
  23   present litigation in the California State Superior Court that is closest to Plaintiff’s
  24   headquarters, as is required by the terms of the relevant agreements.
  25   24.      Twenty-Fourth Affirmative Defense
  26         Defendants expressly reserves all affirmative defenses, rights, and remedies at
  27   law and in equity as well as the right to amend this Answer and Affirmative Defenses
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                            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
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   1   as necessary and appropriate, including and not limited to, add any additional
   2   affirmative defenses which may be discovered during the course of the proceeding.
   3        DATED: March 17, 2020           HIRZEL DREYFUSS & DEMPSEY, PLLC
   4

   5                                        By: ___/s/ Patrick Dempsey__________
                                                 Patrick G. Dempsey (pro hac vice)
   6                                             dempsey@hddlawfirm.com
                                                 2333 Brickell Avenue, Suite A-1
   7                                             Miami, Florida 33129
                                                 Tel: (305) 615-1617
   8                                             Counsel for Defendants
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